Filed 10/03/22                            Case 22-22056                             Doc 34



                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: David R. Michal          Case No.: 22-22056 - A - 7
                                                 Docket Control No. CLH-1
                                                 Date: 10/03/2022
                                                 Time: 9:00 AM

            Matter:   [14] - Motion/Application to Set Trial Date [CLH-1] (dpas)

            Judge: Fredrick E. Clement
            Courtroom Deputy: Janice Busch
            Reporter: Electronic Record
            Department: A
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            Involuntary Debtor's Attorney - Patricia Wilson
            Respondent(s):
            (by phone) Petitioning Creditor's Attorney - Charles L. Hastings
            (by phone) Interested Party – Robert Deutsch
            (by phone) Interested Party – Henry Mangum, Jr.
            _____________________________________________________________________
                                          CIVIL MINUTES


           As more fully set forth on the record,

           The matter will be continued to November 7, 2022, at 9:00 a.m.

           Mr. Hastings and Ms. Wilson will meet and confer, by phone or in
           person, and file a joint status report not later than November 1,
           2022. Mr. Hastings will take the lead in coordinating the meeting and
           the filing of the report. The status report will include (1) all
           remaining legal issues; (2) requests for discovery including an
           estimate of time required for its completion; (3) the appropriateness
           of Rule 26(a)(1) disclosures; (4) the necessity of summary judgments;
           and (5) if proceeding with trial, an assessment on usage of Alternate
           Direct Testimony and a timeline for the trial.

           The parties agreed that Mr. Hastings may file an amended petition to
           include the assignment documents described in the Fed. R. Bankr. P.
           1003 and will file and serve it not later than October 10, 2022.

           The Status Conference in this case, currently scheduled for October
           31, 2022 will be continued to November 7, 2022, at 9:00 a.m.
